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                 UNITED STATES DISTRICT COURT FOR
                  EASTERN DISTRICT OF OKLAHOMA


(1)   DUSTIN LANCE,

                     Plaintiff,

v.                                          Case No.: CIV-17-378-RAW

(2)   BOARD OF COUNTY
      COMMISSIONERS OF
      PITTSBURG COUNTY, OKLA.,
      et al.

                         Defendants.


                            NOTICE OF APPEAL


      Notice is hereby given that Plaintiff Dustin Lance appeals to the

United States Court of Appeals for the Tenth Circuit from this Court’s

Opinion and Order (Doc. #209) and Judgment (Doc. #210) entered in this

action on September 20, 2019, in which the Court granted the Motions for

Summary Judgment of Defendants Chris Morris in his official capacity, Joel

Kerns in his individual capacity, Edward Morgan, Dakota Morgan, Mike

Smead, Stephen Sparks, and Daniel Harper.

                                            Respectfully submitted,

                                            BRYAN & TERRILL


                                            s/J. Spencer Bryan
                                            Steven J. Terrill, OBA #20869
                                            J. Spencer Bryan, OBA #19419
                                            BRYAN & TERRILL LAW
                                            3015 E. Skelly Dr., Suite 400
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                                         Attorneys for Plaintiff




                    CERTIFICATE OF SERVICE


       I hereby certify that on October 4, 2019, I served the above and
foregoing document pursuant to the CM/ECF system on all counsel having
entered an appearance.


                                         s/J. Spencer Bryan
                                         J. Spencer Bryan




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